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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

JAY GLENN,

        Plaintiff,

vs.                                                     Civil No.: 1:16-cv-02498-RCL

THOMAS FORTUNE FAY, et al.,

        Defendants.

                         JOINT MOTION FOR APPOINTMENT OF
                     MAGISTRATE JUDGE TO MEDIATE THIS LAWSUIT

        Plaintiff and Defendants, by and through their respective undersigned counsel, jointly

request the appointment of a U.S. Magistrate Judge to serve as a mediator with respect to the

disputes at issue in this litigation, to be selected at the discretion of the presiding judge in this

case.

                                        Respectfully submitted,

                                        STORCH AMINI PC


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